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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                               Plaintiff,        Case No. 3:08 CR 98 (1)

-vs-
                                                 District Judge Thomas M. Rose
TOMMY JOE TIDWELL,

                        Defendant
___________________________________________________________________________

           ENTRY AND ORDER DENYING DEFENDANT’S MOTION
            TO MODIFY CONDITION OF DETENTION (DOC. #22)
___________________________________________________________________________

       This matter comes before the Court pursuant to Defendant’s Motion to Modify Condition
of Detention pursuant to 18 U.S.C. §3145(b).
        Defendant’s detention hearing was on June 17,2008. The Court has been provided no
significant information that would warrant the reconsideration of the previous detention order or
find by clear and convincing evidence that Defendant is not likely to flee or pose a danger to the
safety of any other person or the community, if released.
       Defendant’s Motion is DENIED.
October 27, 2008                                    s/ Thomas M. Rose
                                              ________________________________
                                              JUDGE THOMAS M. ROSE
                                              UNITED STATES DISTRICT COURT
